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   UNITED STATES DISTRICT COURT
   EASTERN DISTRICT OF NEW YORK
                                                           --------x

   MARTIN NNODIMELE,
                                                                         STIPULATION AND
                                                         Plaintifi       ORDER OF DISMISSAL

                                -against-                                13 CV 3461 (ARR)   (RLM)

   DONALD DERIENZO and EDWARD GARRITY, in their
   individual capacities,

                                                      Defendants.
                                                                     x


                   WHEREAS, the parties have reached a settlement agreement and now desire to

   resolve the remaining issues raised in this litigation, without further proceedings and without

   admitting any fault or liability;

                   NOWO THEREFORE'          IT IS HEREBY STIPULATED AND              AGREED,    bY


   and between the undersigned, that

           1.      The above-referenced action is hereby dismissed with prejudice.
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   Dated: New       New Y ork
                            20t6


   JOEL B. RUDIN                                ZACHARY \M. CARTER
   Attorneyfor Plaintiff                        Corporation Counsel of the
   600 Fifth Avenue, 10th Floor                   City ofNew York
   New York, New York 10020                     Attorney   þr   Defendants   De   Rienzo and
                                                    Garrity
                                                100 Chuich Street, 3'd Floor
                                                N             New York 10007
   By                                     By:
         J      Rudin                            oshua J. Lax
                                                As sistant   Corporation Counsel

                                                SO ORDERED:
   Emery Celli Brinckerhoff & Abady LLP
   Attorneysþr Plaintiff
   600 Fifth Avenue, 10th Floor
   New York,      York 10020                    HON. ALLYNE R. ROSS
                                                I]NITED STATES DISTRICT JUDGE
   By:                                          Dated:                            20t6
         Ilaan M.




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